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 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      Sandra        Rosemary          Oldenburg       Case #:     23-13858 JGR
                First Name      Middle Name         Last Name


 Debtor 2:      Lee           Michael           Oldenburg       Chapter:    13
                First Name      Middle Name         Last Name


Local Bankruptcy Form 9010-1.1
Notice of Advisement: Possible Additional Homeowners Association Creditors


 Part 1 Notice

The undersigned, attorney of record for the Debtors in this case, hereby certifies that he has attempted to obtain the
name, address and amount of alleged claim(s) owed to any other potential other homeowners associations (besides
Carlson Farms HOA) in order to amend the Schedules but has been unable to do so. The undersigned counsel has
inquired of both Debtor Wife herself and also counsel for Carlson Farms HOA, respectively, who were cooperative but
simply did not have this information. Counsel also called and left a detailed voicemail for the police investigator
apparently investigating Debtor Wife (without specifically inquiring as to the results of any criminal investigation) but did
not receive any phone call back. No entries of appearance or request for notice have been filed in this case since before
the most recent Confirmation Hearing on April 18, 2024. Counsel will continue to follow up with Debtors and all other
parties.


 Part 2 Signature of Debtor’s Attorney

                                                           Dated this 21st day of May 2024


                                                           /s/ David M. Serafin
                                                           David M. Serafin, #33686
                                                           501 S. Cherry St., #1100
                                                           Denver, CO 80246
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